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           EXHIBIT 10
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From:                              Cathy Widener (AIR) <Cathy.Widener@flysfo.com>
Sent:                              Monday, April 1, 2024 1:36 PM
To:                                Dyanna Volek (AIR)
Subject:                           FW: Letter of Opposition of Oakland Airport Renaming



Damn. I forgot to cc you. Sorry!




Cathy Widener
Chief External Affairs Officer
San Francisco International Airport I P.O. Box 8097 I San Francisco, CA 94128
650-821-5023 I I flysfo.com




From: Cathy Widener (AIR)
Sent: Monday, April 1, 2024 1:31 PM
To: Sun, Selina <Selina.Sun@mail.house.gov>
Subject: FW: Letter of Opposition of Oakland Airport Renaming

Hi, Selina:

You may have seen the recent press around Oakland Airport's proposal to rename the OAK airport the "San
Francisco Oakland Bay International Airport." I'm reaching out to see if Speaker Emerita Pelosi might be willing
to write a letter of concern/opposition to the President of the Port of Oakland's Board of Commissioners:
Barbara Leslie (Port of Oakland Board of Commissioners, 30 Water Street, CA 94607/email:
blesiie@portofoakland.com)?

The Port of Oakland has calendared the item for their April 11 meeting (item 6.2).
SFO's press release linked here
We would appreciate the support.
Thank you.
Cathy




Cathy Widener
Chief External Affairs Officer
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